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                                 UNITED STATES DISTRICT COURT
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10                              EASTERN DISTRICT OF CALIFORNIA

11    GERALD CARLIN, JOHN RAHM, PAUL                        CASE NO. 1:09-CV-0430 AWI-EPG
      ROZWADOWSKI and DIANA WOLFE,
12    individually and on behalf of themselves
      and all other similarly situated,                     ORDER GRANTING UNOPPOSED
13                                                          MOTION TO EXTEND DEADLINES
                             Plaintiffs,                    FOR CLASS NOTICE AND FINAL
14                                                          APPROVAL OF SETTLEMENT
                     v.
15                                                          (Doc. No. 563)
      DAIRYAMERICA, INC., and
16    CALIFORNIA DAIRIES, INC.

17                           Defendants

18
            The parties in this case have entered into a settlement agreement. Plaintiffs proposed a
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     comprehensive notice program that provides: (1) direct mailed notice of the settlement to Settlement
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     Class Members and (2) publication notice in two widely-circulated magazines directed to farmers
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     and on a website. Doc. No. 555 at 7, 19-20. To provide direct mailed notice, Plaintiffs proposed
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     collaborating with each of the ten Federal Milk Marketing Orders (“FMMOs”) to obtain the contact
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     and production information for tens of thousands of Settlement Class Members. Id. Once that data
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     was obtained, Plaintiffs proposed that the claims administrator, Rust Consulting, would process the
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     data and distribute individualized notices of the settlement directly to Settlement Class Members. Id.
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     The proposed deadline for distributing direct-mailed notice was 60 days from the date of
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     preliminary approval. The Court preliminarily approved this proposed notice plan on September
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 1 14, 2018, thus setting the deadline for mailing at November 13, 2018. Doc. No. 559 at 17.
 2         Plaintiffs have now petitioned for an extension of deadlines, which Defendants have not
 3 opposed. Doc. No. 563. Plaintiffs state:
 4
           [T]he process undertaken by FMMOs to collect the requisite data regarding
 5         Settlement Class Members has been more time-consuming than the agencies
           anticipated. The FMMOs had expected to complete the production of data by
 6         October 19, 2018, but instead the production was not completed until October 30,
           2018. For that reason, Rust Consulting is now unable to process the data and
 7         prepare the mailings by the November 13, 2018 deadline. Due to the
 8         unanticipated delay in FMMOs collecting and providing the data, Plaintiffs
           respectfully request that the Court extend—by two weeks—the deadlines
 9         associated with distributing notice and moving for final approval of the
           settlement. This extension would provide Rust Consulting sufficient time to
10         process the data and prepare the individual mailings.
11 Id. at 2. Plaintiffs thus proposed the following modified schedule, which the Court finds
12 acceptable:
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14    Deadline for all notices to be mailed,          November 13, 2018       November 27, 2018
      published, and posted on the internet
15    Motion for attorneys’ fees, costs, and             December 14, 2018    December 28, 2018
      service awards due by
16    Class Members’ objections, exclusions,               January 14, 2019     January 28, 2019
      and submission of all claim forms due by
17
      Administrator to file affidavit certifying           February 4, 2019    February 19, 2019
18    compliance with notice requirements by
      Parties to file motion for final approval,           February 4, 2019    February 19, 2019
19    and to respond to any objections from
      class members, by
20
      Final approval hearing                               March 4, 2019,       March 18, 2019,
21    (“Fairness Hearing”)                                       1:30 p.m.            1:30 p.m.
                                                    Reserved for decision                 Same
22    Effective Date
                                                                  in Order
                                                           regarding Final
23
                                                         Approval Hearing
24    Defendants to wire second half of the             As per § 7.1 of the               Same
      Total Settlement Amount by                    Settlement Agreement
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26                                                 ORDER
27         Based on the foregoing, IT IS HEREBY ORDERED that:
28     1. The deadline for mailing the Long Notice and the Claim Form to Settlement Class

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 1      Members is extended from November 13, 2018 to November 27, 2018;
 2   2. The deadline for publishing Summary Notice, on one occasion in Progressive Dairymen
 3      and American Dairymen, is extended from November 13, 2018 to November 27, 2018;
 4   3. The deadline for Class Counsel to file with the Court, and serve upon counsel for
 5      DairyAmerica and California Dairies, their motion for attorneys’ fees, reimbursement of
 6      expenses and service awards for Class Representatives is extended from December 14,
 7      2018 to December 28, 2018;
 8   4. The deadline for Settlement Class Members to sign and mail completed Claim Forms to
 9      the Claims Administrator is extended by two weeks, such that Claim Forms must be
10      postmarked no later than January 28, 2019;
11   5. The deadline for Settlement Class Members to mail requests for exclusion to the Claims
12      Administrator is extended by two weeks, such that requests for exclusion must be
13      postmarked no later than January 28, 2019;
14   6. The deadline for Settlement Class Members to submit written objections to the
15      Settlement Agreement, and/or Class Counsel’s request for attorneys’ fees, reimbursement
16      of expenses and service awards for Class Representatives is extended by two weeks, such
17      that objections must be received by the Court, Class Counsel, and Counsel for
18      DairyAmerica and California Dairies no later than January 28, 2019;
19   7. The deadline for Class Counsel to file their motion for final approval of the Settlement
20      Agreement with the Court, and serve it upon counsel for DairyAmerica and California
21      Dairies, is extended from February 4, 2019 to February 19, 2019;
22   8. The deadline for Class Counsel to file with the Court, and serve upon counsel for
23      DairyAmerica and California Dairies, affidavits or declarations of the person under
24      whose general direction the mailing of the Long Notice and the publication of Summary
25      Notice were made, is extended from February 4, 2019 to February 19, 2019;
26   9. The deadline for Class Counsel to file with the Court, and serve on the parties, responses
27      to any timely objection filed by any member of the Settlement Class, is extended from
28      February 4, 2019 to February 19, 2019;

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 1     10. The date of the hearing to determine the fairness, reasonableness, and adequacy of the
 2        proposed settlement with DairyAmerica and California Dairies and whether to approve
 3        Class Counsel’s request for attorneys’ fees, reimbursement of expenses and service
 4        awards for Class Representatives, is rescheduled from March 4, 2019, at 1:30 p.m., to
 5        March 18, 2019, at 1:30 p.m.
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     IT IS SO ORDERED.
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 8 Dated: November 2, 2018
                                               SENIOR DISTRICT JUDGE
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